                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF TENNESSEE

                                         AT KNOXVILLE

 SNMP RESEARCH, INC. and SNMP                          Case No. 3:20-cv-00451
 RESEARCH INTERNATIONAL, INC.,

        Plaintiffs,
 v.

 BROADCOM INC.; BROCADE
 COMMUNICATIONS SYSTEMS LLC; and
 EXTREME NETWORKS, INC.

        Defendants.



                          DECLARATION OF ALISON PLESSMAN

        I, ALISON PLESSMAN, declare as follows:

        1.      I am an attorney at law duly licensed to practice before this Court. I am a partner

 at the law firm of Hueston Hennigan LLP, counsel of record for Defendants Broadcom Inc.

 (“Broadcom”) and Brocade Communications Systems LLC (“Brocade”) in this action. I have

 personal knowledge of the facts set forth in this Declaration and, if called as a witness, could and

 would testify competently to such facts under oath.

        2.      On December 23, 2020, the parties conducted their Federal Rule of Civil

 Procedure 26(f) conference.

        3.      Defendants made clear prior to and at the beginning of the conference that they

 would only agree to participate in the conference if Plaintiffs agreed Defendants were not

 waiving any defenses by doing so, including defenses based on lack of personal jurisdiction and

 improper venue.

        4.      Plaintiffs agreed that Defendants were not waiving any defenses by participating

 in the Rule 26(f) conference.




Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 1 of 27 PageID #:
 5984082                           2651
        5.      Defendants proposed discovery be stayed pending resolution of their motions to

 dismiss because such motions could result in dismissal of the entire case or at least significantly

 narrow the claims and issues.

        6.      Plaintiffs rejected Defendants’ proposed discovery stay.

        7.      On December 26, 2020, Plaintiffs served on Broadcom 91 requests for

 production, 24 interrogatories, and 51 requests for admission and on Brocade 86 requests for

 production, 23 interrogatories, and 68 requests for admission.

        8.      At the time Plaintiffs served their written discovery on Defendants on December

 26, 2020, the parties had not yet agreed to an electronic discovery protocol and had not even

 began negotiating a protective order governing the use and disclosure of confidential and

 proprietary information exchanged during discovery.

        9.      On January 5, 2021 Defendants offered a very reasonable compromise:

 Defendants agreed not to seek a stay of discovery or a protective order based on the pending (and

 likely dispositive) motions to dismiss so long as Plaintiffs agreed that they would not argue that,

 by virtue of participating in the discovery process, Defendants had submitted themselves to this

 Court’s jurisdiction and waived any argument concerning personal jurisdiction and improper

 venue. Defendants also requested a modest 30-day extension.

        10.     Plaintiffs rejected this proposal, asserting they would only abstain from arguing

 that Defendants’ responses to Plaintiffs’ discovery requests constituted waiver. But if

 Defendants were to propound their own discovery requests on Plaintiffs, Plaintiffs refused to

 agree that they would not argue such requests meant that (1) Defendants had submitted to the

 Court’s jurisdiction; (2) Defendants waived their jurisdictional and venue defenses; and (3)

 Defendants’ motion to dismiss should be denied on the basis of this waiver.

        11.     Plaintiffs also refused to agree to a 30-day extension unless Defendants agreed to

 provide “substantive responses and documents (not just objections) on February 24, 2021.”

        12.     Plaintiffs agreed that they would not argue waiver of Defendants’ defenses,

 including for lack of personal jurisdiction and improper venue, by virtue of Defendants’


                                                 -2-
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 2 of 27 PageID #:
 5984082                           2652
 submission of a Rule 26(f) joint report, serving of initial disclosures under Federal Rule of Civil

 Procedure 26(a), or responding to Plaintiffs’ discovery.

        13.     Defendants continued to meet and confer regarding the possibility of an extension

 to respond to the voluminous discovery propounded by Plaintiffs while this motion is pending

 (or at least a 30-day extension), but Plaintiffs confirmed on January 12 and 13, 2021 that they

 would not agree to such an extension and would seek sanctions if Defendants failed to respond

 on January 25, 2021.

        14.     On January 16, 2021, Defendants filed a motion for a stay and a protective order.

        15.     On January 16, 2021, after Defendants had filed their motion to stay and for a

 protective order, Plaintiffs initiated negotiations for a protective order by circulating a draft

 protective order.

        16.     On January 24, 2021, after Defendants had already served their motion to stay and

 for a protective order and the day before Defendants’ discovery responses were due, Plaintiffs

 contacted Defendants to initiate negotiations for the exchange of source code if Defendants’

 “requests are reasonable and appropriate.”

        17.     Plaintiffs unreasonably suggested that any exchange of source code would need to

 occur within five days. This was not practically possible because experts would need to be

 retained first to conduct the source code review and provide input for the source code review

 protocol. Moreover, Defendants would need to first serve discovery to know what source code

 was needed from Plaintiffs and Plaintiffs have stated we cannot do so without subjecting our

 motions to dismiss to waiver.

        18.     Plaintiffs incorrectly claim in their correspondence regarding the exchange of

 source code that I stated that the parties should produce source code rather than make it available

 in data room because of the covid-19 pandemic. I never made such a claim. Rather, I said the

 parties would need to figure out how to handle the review of source code in light of the covid-19

 pandemic.

        19.     Attached hereto as Exhibit A is a true and correct copy of the parties’


                                                  -3-
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 3 of 27 PageID #:
 5984082                           2653
 correspondence regarding exchanging source code.

          20.   On January 25, 2021, Defendants served Plaintiffs with their discovery responses.

          21.   On January 28, 2021, Plaintiffs requested a meet and confer regarding their

 discovery requests.

          22.   On January 29, 2021, Plaintiffs served their second set of requests for production

 on Defendants.

          23.     On February 1, 2021, I responded to Plaintiffs’ request for a meet and confer

 explaining that meeting and conferring would only be productive if Plaintiffs’ were willing to

 reconsider their position regarding discovery.

          24.   Plaintiffs never responded to this correspondence.

          25.   On March 16, 2021, Plaintiffs agreed to meet and confer with Defendants about

 the Protective Order, the second set of discovery requests, and Plaintiffs’ reconsideration of their

 position on the motion to stay and protective order. That same day, the parties met and

 conferred.

          26.   On April 13, 2021, Defendants discovered that the draft of the joint Protective

 Order contained a provision stating the parties would consent to this Court’s jurisdiction upon its

 entry.

          27.   On April 21, 2021, after further discussion between the parties, Plaintiffs stated

 that they would not agree to the joint Protective Order without asking the court to include the

 consent to jurisdiction.

          28.   Attached hereto as Exhibit B is a true and correct copy of the parties’

 correspondence concerning the planned meet and confer and subsequent correspondence

 concerning the proposed joint Protective Order.

          29.   On April 2, 2021, Plaintiffs refused to set forth their responses to Defendants’

 objections to the second set of discovery requests, along with supporting authority, in a letter to

 facilitate a more efficient meet and confer. Plaintiffs also said they had “no choice but to seek

 relief from the Court.”


                                                  -4-
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 4 of 27 PageID #:
 5984082                           2654
         30.     Attached hereto as Exhibit C is a true and correct copy of the parties’

 correspondence concerning scheduling for another meet and confer and whether Plaintiffs would

 draft a letter setting out Plaintiffs’ positions.

         I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

         Executed on this 2nd day of June, 2021, at Los Angeles, California.




                                                                     Alison Plessman




                                                     -5-
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 5 of 27 PageID #:
 5984082                           2655
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 6 of 27 PageID #:
                                   2656
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 7 of 27 PageID #:
                                   2657
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 8 of 27 PageID #:
                                   2658
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 9 of 27 PageID #:
                                   2659
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 10 of 27 PageID #:
                                    2660
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 11 of 27 PageID #:
                                    2661
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 12 of 27 PageID #:
                                    2662
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 13 of 27 PageID #:
                                    2663
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 14 of 27 PageID #:
                                    2664
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 15 of 27 PageID #:
                                    2665
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 16 of 27 PageID #:
                                    2666
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 17 of 27 PageID #:
                                    2667
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 18 of 27 PageID #:
                                    2668
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 19 of 27 PageID #:
                                    2669
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 20 of 27 PageID #:
                                    2670
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 21 of 27 PageID #:
                                    2671
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 22 of 27 PageID #:
                                    2672
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 23 of 27 PageID #:
                                    2673
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 24 of 27 PageID #:
                                    2674
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 25 of 27 PageID #:
                                    2675
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 26 of 27 PageID #:
                                    2676
Case 3:20-cv-00451-CEA-DCP Document 72-1 Filed 06/02/21 Page 27 of 27 PageID #:
                                    2677
